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                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

IN RE:                                                  §
                                                        §             CASE NO. 25-40712
DZS INC., et al.,1                                      §
                                                        §             (Chapter 7)
                             DEBTORS.                   §

                     AMENDED2 FOURTH NOTICE OF
      ASSUMPTION OF EXECUTORY CONTRACT(S) OR UNEXPIRED LEASE(S)

        PLEASE TAKE NOTICE THAT on April 28, 2025 the United States Bankruptcy Court
for the Eastern District of Texas (the “Court”) entered an order [Docket No. 112] (the
“Sale Order”) that, among other things approved the sale of substantially all of the assets of the
above-captioned debtors (the “Debtors”) to Zhone Technologies, Inc., (“Zhone”), formerly known
as Fibre Acquisitions Corporation.

       PLEASE TAKE FURTHER NOTICE THAT the Trustee filed the Notices of Executory
Contracts and/or Unexpired Leases to be Assumed [ECF Nos. 47-66, 69] with the Court on April
14, 2025 and served such Notices on counter-parties to such Executory Contract(s) and/or
Unexpired Lease(s) (each a “Notice of Potentially Assumed Contract or Lease”).

      PLEASE TAKE FURTHER NOTICE THAT the Purchaser has elected to assume the
Executory Contract(s) and/or Unexpired Lease(s) to which you are a party listed on the attached
Exhibit 1 to this Notice.

        PLEASE TAKE FURTHER NOTICE THAT “cure” obligations included in the Notice
of Potentially Assumed Contract or Lease or as otherwise agreed to by the Purchaser and any other
party to such lease or contact (the “Cure Claim”) of any Executory Contract(s) or Unexpired
Lease(s) included in this Notice, shall be satisfied for the purposes of section 365(b)(1) of the
Bankruptcy Code, by payment in Cash, within ten (10) calendar days of this Notice or on such other
date as the parties to such Executory Contract(s) and/or Unexpired Lease(s) may otherwise agree.
Any Cure Claim shall be deemed fully satisfied, released, and discharged upon such payment. The
Purchaser may settle and pay any Cure Claim without any further notice to or action, order, or
approval of the Bankruptcy Court. The Trustee and Purchaser may adjourn consideration of any
cure dispute beyond the Sale Hearing.




1
  The Debtors in these Chapter 7 Cases, along with the last four digits of each Debtor’s federal tax identification
number, are: DZS Inc. (9099); DZS Services Inc. (3763); and DZS California Inc. (3221) (each “Debtor” and
collectively the “Debtors”). The location of the Debtors’ service address for purposes of these Chapter 7 Cases is:
5700 Tennyson Parkway, Suite 400, Plano, TX 75024.
2
  Amended to remove a duplicate of the Executory Contract for Dasan Networks Solutions Inc. which appears on both
the 4th Notice and the 6th Notice.



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       PLEASE TAKE FURTHER NOTICE THAT the Purchaser is responsible for payment
of any Cure Claims as defined in the Notice of Potentially Assumed Contract or Lease related to
your agreement.

      PLEASE TAKE FURTHER NOTICE THAT any objection to the assumption of an
Executory Contract or Unexpired Lease under the Plan was due no later than April 25, 2025.

       PLEASE TAKE FURTHER NOTICE THAT any request for payment of or objection
to a Cure Claim that differs from the cure amounts listed in the Notice of Potentially Assumed
Contract or Lease was also required to be Filed with the Bankruptcy Court no later than April 25,
2025.

        PLEASE TAKE FURTHER NOTICE THAT, pursuant to the Sale Order, any
counterparty to an Executory Contract or Unexpired Lease that failed to timely object to the
proposed assumption, assumption and assignment, or related Cure Claim is deemed to have
assented to such assumption and assignment and/or Cure Claim of such Executory Contract or
Unexpired Lease, as applicable, and any untimely objection shall be disallowed and forever barred,
estopped, and enjoined from assertion, and shall not be enforceable against the Purchaser, without
the need for any objection by the Purchaser or any other party in interest or any further notice to
or action, order, or approval of the Court. Such counterparties to such Executory Contract(s) or
Unexpired Lease(s) shall be deemed to release and waive, subject to such counterparties’ receipt
of the applicable Cure Claim, any and all rights arising under such Executory Contract(s) or
Unexpired Lease(s) related to any default, cross-default, termination, put right, or other similar
provision related to any event, default, or potential default on or occurring prior to the Closing
Date.

         PLEASE TAKE FURTHER NOTICE THAT assumption of any Executory Contract
and/or Unexpired Lease pursuant to the Sale Order shall result in the full release and satisfaction
of any claims or defaults, whether monetary or nonmonetary, including defaults of provisions
restricting the change in control or ownership interest composition or other bankruptcy-related
defaults, arising under any such Executory Contract or Unexpired Lease at any time on or before
the date that the Debtors assume or assume and assign such Executory Contract or Unexpired
Lease.

         PLEASE TAKE FURTHER NOTICE THAT neither the exclusion nor inclusion of any
Executory Contract or Unexpired Lease on Notice of Potentially Assumed Contract or Lease, shall
constitute an admission by the Debtors, the Trustee or Purchaser that any such contract or lease is
in fact an Executory Contract or Unexpired Lease, that any Debtor(s) has any liability thereunder,
or that such Executory Contract or Unexpired Lease is a binding and enforceable agreement. In
addition, the Trustee and Purchaser shall have the right to: (i) alter, amend, modify, or supplement
any information set forth herein, including to add or remove any Executory Contract or Unexpired
Lease from the Rejection List or Assumption List, pursuant to the terms of the Plan; and (ii) contest
any Claim asserted in connection with any Executory Contract or Unexpired Lease.

       Any questions regarding this Notice should be directed to John Higgins at 469-581-9204,
Email: john.higgins@zhone.com.




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 Dated: May 12, 2025.                        Respectfully submitted,

                                             DYKEMA GOSSETT PLLC

                                             By: /s/ Dominique A. Douglas
                                             Deborah D. Williamson
                                             Texas State Bar No. 21617500
                                             Dominique A. Douglas
                                             Texas State Bar No. 24134409
                                             DYKEMA GOSSETT PLLC
                                             112 E. Pecan St., Suite 1800
                                             San Antonio, Texas 78205
                                             Phone: 210-554-5275
                                             Email: dwilliamson@dykema.com
                                             Email: ddouglas@dykema.com

                                             ATTORNEYS FOR
                                             ZHONE TECHNOLOGIES, INC.
                                             FORMERLY KNOWN AS
                                             FIBRE ACQUISITION CORPORATION




                                     CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on May 12, 2025, a true and correct copy of the
foregoing was served by electronic means as listed on the Court’s ECF noticing system and first
class mail to necessary contract counterparties.

                                                     /s/ Dominique A. Douglas
                                                     Dominique A. Douglas




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                                             Exhibit 1
                                          Assumption List




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           DZS ID                     Counterparty Name       Description of Contract or Lease


2.0693                         TACHUS LLC                   PURCHASE AGREEMENT FOR
                                                            PRODUCTS AND SERVICES


2.0694                         TACHUS LLC                   PURCHASE AGREEMENT FOR
                                                            PRODUCTS AND SERVICES


2.0696                         TAMDEED PROJECTS LLC; SISALAT RESELLER AGREEMENT
                               SERVICES HOLDING LLC


2.0698                         TAWASUL TELECOM LTD CO       MUTUAL PRODUCT EVALUATION
                                                            AGREEMENT


2.0702                         TDS TELECOMMUNICATIONS LLC   MASTER PURCHASE AGREEMENT



2.0703                         TDS TELECOMMUNICATIONS LLC   MUTUAL PRODUCT EVALUATION
                                                            AGREEMENT


2.0722                         TELECOM NAMBIA LIMITED       TENDER FOR ACTIVE FIBRE AND
                                                            COPPER ACCESS EQUIPMENT
                                                            SCHEDULE 4 SCHEDULE OF
                                                            COMPLIANCE TO TECHNICAL
2.0723                         TELECOM NAMIBIA LIMITED      CONTRACT NO. G/DP/TN-220/2022



2.0724                         TELECOM NAMIBIA LIMITED      MEMORANDUM OF AGREEMENT



2.0725                         TELECOM NAMIBIA LIMITED      PRICING AND FORECASTING
                                                            SCHEDULE


2.0726                         TELECOM NAMIBIA LIMITED      SERVICE MAINTENANCE
                                                            CONTRACT PROPOSAL


2.0727                         TELECOM NAMIBIA LTD          SERVICE MAINTENANCE
                                                            CONTRACT


2.0728                         TELEFFICIENT SOLUTIONS       RESELLER AGREEMENT
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2.0729                         TELEFONICA DEL SUR SERVICIOS   SERVICE MAINTENANCE CONTRACT
                               INTERMEDIOS SA


2.0730                         TELEFÓNICA DEL SUR SERVICIOS   PARCHASE AND SUPPLY
                               INTERMEDIOS SA                 AGREEMENT FOR PRODUCTS
                                                              AND SERVICES

2.0731                         TELEFÓNICA DEL SUR SERVICIOS   PURCHASE AND SUPPLY
                               INTERMEDIOS SA                 AGREEMENT FOR PRODUCTS
                                                              AND SERVICES

2.0732                         TELEFONICA DEL SUR;            PURCHASE AGREEMENT FOR
                               TELEFONICA                     PRODUCTS AND SERVICES


2.0745                         TELTECH COMMUNICATIONS LLC     DISTRIBUTOR AGREEMENT



2.0746                         TELUS COMMUNICATIONS           MASTER PURCHASE AGREEMENT
                               COMPANY; TELUS
                               COMMUNICATIONS INC.

2.0747                         TELUS COMMUNICATIONS INC.      RFI PARTICIPATION AGREEMENT



2.0748                         TELUS COMMUNICATIONS INC;      MASTER PRODUCTS AND
                               TELUS COMMUNICATIONS INC.      SERVICES AGREEMENT


2.0749                         TELUS COMMUNICATIONS INC;      SHORT FORM SOFTWARE LICENSE
                               TELUS COMMUNICATIONS INC.      AGREEMENT


2.0750                         TELUS CORPORATION; TELUS       AMENDMENT NO. 1 TO MASTER
                               COMMUNICATIONS INC.            AGREEMENT FOR RESALE OF
                                                              SOFTWARE-AS-A-SERVICE
                                                              SCHEDULE "A" - FORM OF SAAS
2.0780                         TRADING DISTRIBUTION           RESELLER AGREEMENT
                               CONSULTANCY COMPANY (TDC)


2.0781                         TRANS INDUSTRIAS               RESELLER AGREEMENT
                               ELECTRONICAS SA


2.0786                         TROY CABLEVISION, INC.         PURCHASE AGREEMENT FOR
                                                              PRODUCTS AND SERVICES


2.0788                         TV FUEGO SA                    PURCHASE AGREEMENT FOR
                                                              PRODUCTS AND SERVICES
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2.0789                         TVC COMMUNICATIONS LLC;        FIRST AMENDMENT TO
                               WESCO DISTRIBUTION INC         RESELLER AGREEMENT


2.0790                         TVC COMMUNICATIONS LLC;        FIRST AMENDMENT TO
                               WESCO DISTRIBUTION INC         RESELLER AGREEMENT


2.0791                         TVC COMMUNICATIONS LLC;        FIRST AMENDMENT TO
                               WESCO DISTRIBUTION INC         RESELLER AGREEMENT


2.0792                         TVC COMMUNICATIONS LLC;        FIRST AMENDMENT TO
                               WESCO DISTRIBUTION INC         RESELLER AGREEMENT


2.0797                         UNITED TELEPHONE ASSOCIATION   PURCHASE AGREEMENT FOR
                               INC. (UNITED                   PRODUCTS AND SERVICES
                               TELECOM)

2.0807                         USHUAIA VISION SA              MASTER SERVICE AGREEMENT



2.0808                         UTOPIA                         PURCHASE AGREEMENT FOR
                                                              PRODUCTS AND SERVICES


2.0810                         VALLEY TELEPHONE               PURCHASE AGREEMENT FOR
                               COOPORATIVE, INC.              PRODUCTS AND SERVICES




2.0821                         VIANET INC                     PURCHASE AGREEMENT FOR
                                                              PRODUCTS AND SERVICES


2.0828                         VTX COMMUNICATION LLC          PURCHASE AGREEMENT FOR
                                                              PRODUCTS AND SERVICES




2.0834                         WESCO DISTRIBUTION INC         DISTRIBUTOR AGREEMENT



2.0835                         WESCO DISTRIBUTION INC         RESELLER AGREEMENT
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2.0836                         WESCO DISTRIBUTION INC      RESELLER AGREEMENT



2.0837                         WESCO DISTRIBUTION INC      RESELLER AGREEMENT



2.0838                         WESCO DISTRIBUTION INC      SECOND AMENDMENT TO
                                                           RESELLER AGREEMENT


2.0839                         WESCO DISTRIBUTION INC      SECOND AMENDMENT TO
                                                           RESELLER AGREEMENT


2.0843                         WINDSTREAM SERVICES LLC     MUTUAL PRODUCT EVALUATION
                                                           AGREEMENT


2.0844                         WINDSTREAM SERVICES LLC     MUTUAL PRODUCT EVALUATION
                                                           AGREEMENT


2.0856                         WORLD WIDE TECHNOLOGY LLC   RESELLER AGREEMENT



2.0862                         XPLORE INC                  MASTER PURCHASE AGREEMENT



2.0865                         AXON NETWORKS, INC.         ASSET PURCHASE AGREEMENT



2.0866                         AXON NETWORKS, INC.         BILL OF SALE, ASSIGNMENT AND
                                                           ASSUMPTION AGREEMENT


2.0867                         AXON NETWORKS, INC.         DOMAIN ASSIGNMENT
                                                           AGREEMENT


2.0868                         AXON NETWORKS, INC.         EDGE SDK LICENSE AGREEMENT



2.0869                         AXON NETWORKS, INC.         PATENT ASSIGNMENT
                                                           AGREEMENT


2.0870                         AXON NETWORKS, INC.         PATENT ASSIGNMENT
                                                           AGREEMENT
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2.0871                         AXON NETWORKS, INC.         PATENT SUBLICENSE
                                                           AGREEMENT


2.0872                         AXON NETWORKS, INC.         RESELLER AGREEMENT



2.0873                         AXON NETWORKS, INC.         TRADEMARK ASSIGNMENT
                                                           AGREEMENT


2.0874                         AXON NETWORKS, INC.         TRANSFERRED PATENTS
                                                           LICENSE AGREEMENT


2.0875                         AXON NETWORKS, INC.         TRANSITION SERVICES
                                                           AGREEMENT


2.0876                         AXON NETWORKS, INC.         XTREME LICENSE AGREEMENT
